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                                    Special Charges Order Page 1 of 1

                                   UNITED STATES BANKRUPTCY COURT
                                        Northern District of Georgia
                                             Atlanta Division

In
Re:    Tracy Dennis                                        Case No.: 20−63562−pmb
       6885 Estepona St                                    Chapter: 7
       Atlanta, GA 30349

       xxx−xx−1584                                         Judge: Paul Baisier

       Debtor

                              ORDER FOR PAYMENT OF SPECIAL CHARGES



It appearing to the Court that as provided by 28 U.S.C. Section 1930(b) and Order and Directives made pursuant
thereto, it is

ORDERED that S. Gregory Hays pay to the United States Bankruptcy Court the following special charges:

$ 350.00 Deferred Filing Fee for Adversary 20−6079

$ 350.00 TOTAL AMOUNT DUE

The designated party is hereby directed to pay special charges by Trustee's check, Attorney's check, cashiers check or
money order, payable to "Clerk, United States Bankruptcy
Court". Company or personal checks of Debtor−in−Possession WILL NOT BE ACCEPTED.

Chapter 11/12 payments are due within fourteen (14) days from the date of this Order. Chapter 7 Asset payments are
due upon final distribution. A copy of this order is being forwarded to the United States Trustee.

Return extra copy of this Order with payment to:
                                                           Clerk, United States Bankruptcy Court
                                                           1340 United States Courthouse
                                                           75 Ted Turner Drive, SW
                                                           Atlanta, GA 30303

It is so ordered this 12th day of August, 2021.




                                                           United States Bankruptcy Judge
                                                           Paul Baisier

Form 438, Revised June 2015
